Case 2:20-cv-00014-JPJ-PMS Document 115 Filed 11/22/21 Page1lof4 Pageid#: 920

CLERK'S OFFICE U.S
AT ABINGDON, Wir COURT
IN THE UNITED STATES DISTRICT COURT FILED
FOR THE WESTERN DISTRICT OF VIRGINIA NOV 22 2021
JUJAA C.
BY. a Woe fo
MELINDA SCOTT, } EPU te
)
PLAINTIFF. )
)
Vv. ) CL NO. 2:20cv14
)
WISE CO.DSS, i+?)
ETAL., )
)
DEFENDANTS. )

MOTION TO SHOW CAUSE

 

1. On November 1, 2021, Plaintiff Scott filed a Motion to Seal.

2. On Wednesday, November 16, 2021, the district court ordered Defendant Moon’s counsel
to submit a redacted copy of Docket #99-3. The court order Defendant Mcon’s counsel to
redact the “address and any other personal identifiers” on Docket #99-3. The “personal
identifiers” named in the Motion to Seal were: (1) the Plaintiff and her minor children’s
residential address, (2) the Plaintiff and her children’s county of residence, (3) the Plaintiff’s

places of employment or business (4) the Plaintiff’s place of attendance at any graduate

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school (5) the Plaintiff’s make, model, year of vehicles (6) her children’s whereabouts and
(7) any other identifying information such as social security numbers, etc

3. On November 16, 2021, Counsel for Defendant Moon submitted a redacted copy of
Exhibit #99-3 marking out only the address (docket #110)

4. On November 16, 2021, ari anonymous user under the name of “Useful_Mistake” posted
an unredacted copy of Exhibit #99-3 in order to circumvent the court’s order to redact the
information.

5. Users of KiwiFarms.net show a preference for emails ending in “@protonmail.com”

6. Matthew Hardin, counsel for Defendant Mcon, uses an email address

“matthewhardin@protonmail.com”

Cause of Motion

On November 16, 2021, Counsel for Defendant Moon submitted a redacted copy of
Exhibit #99-3 marking out only the address (docket #110). He failed to mark out any other
personal identifiers such as vehicle make and model, etc. Further he did not remove Exhibit #99-3
from the Docket.

It is plausible that “Useful_Mistake" is iMatthew Hardin, Counsel for Defendant Moon.
Plaintiff Scott has requested a Subpoena to be sent to Joshua Moon surrendering the IP information
of anonymous user “Useful_Mistake” to confirm that Matthew Hardin, Counsel for Defendant is in
fact that particular anonymous user who posted an unredacted copy of Exhibit #99-3 on

KiwiFarms.net.

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COMES NOW, the Plaintiff, Melinda Scott, and requests that this court order Defendant Moon’s
counsel to show (a) why he did not comply with the court’s order of November 16, 2021 to redact
personal identifiers (in addition to the address) and (b) answer for his failure to remove Exhibit
#99-3 from the Docket and (c) answer for why he filed the unredacted copy online under a profile

named “Useful_Mistake" (on KiwiFarms.net).

I ASK FOR THIS,

ALE Sy
selina Scott, pro-se

PO BOX 1133-2014PMB87 (VA ACP address)
Richmond, VA 23218
540-692-2342

mscottw@pmu.edu

CERTIFICATE OF SERVICE

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I certify that I have mailed a copy of this MOTION FOR INJUNCTION to Counsel for the
Defendant, Matthew D. Hardin, VSB #87482, 1725 I pe NW, Suite 300, Washington, D.C.,

20006, and at matthewdhardin@gmail.com on this / day of NOV., 2021.

SIGNED,

    

Melinda Scott, pro-se
PO BOX 1133-2014PMB87 (VA ACP address)

Richmond, VA 23218
540-692-2342

mscottw@gmiu.edu

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